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                 United States District Court for the
                    Northern District of Florida
                         Tallahassee Division


Kirk Nielsen, et al.,                     Consolidated
                                          Case No. 4:20-cv-00236-RH-MJF
        Plaintiffs,
v.

Ron DeSantis, in his official
capacity as Governor of the State of
Florida, et al.,

         Defendants.



  MIAMI-DADE DEFENDANTS’ SUPPLEMENTAL TRIAL BRIEF AND, IN
      THE ALTERNATIVE, MOTION FOR SUMMARY JUDGMENT

     Defendants Miami-Dade County Canvassing Board and Christina White, in her

official capacity as Supervisor of Elections for Miami-Dade County, (“Miami-Dade

Defendants”), pursuant to Fed. R. Civ. P. 56, hereby files this Supplemental Trial

Brief and, in the alternative, Motion for Summary Judgment.

     The Miami-Dade Defendants have joined and adopted the Secretary of State’s

Trial Brief for all claims that are asserted against the Miami-Dade Defendants

because Florida law requires Supervisors of Elections to defer to the Secretary of

State on “the proper and equitable interpretation and implementation” of Florida’s

Election Code. See Fla. Stat. § 97.012 (authorizing Secretary of State to “[o]btain
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and maintain uniformity in the interpretation and implementation of the election

laws”). However, the Miami-Dade Defendants provide this supplemental trial brief

to address issues or present evidence that relate exclusively to Miami-Dade County.

                              Memorandum of Law

    I.      The Miami-Dade Defendants are Entitled to Judgment in their Favor
            on All Claims raised by the Nielsen Plaintiffs

    In this consolidated action, the plaintiffs in Nielsen, et al. v. DeSantis, et al. (Case

No. 4:20-cv-00236) have filed a five-count complaint challenging three aspects of

Florida election law: (1) the absence of a requirement that vote-by-mail ballots

include pre-paid return envelopes; (2) the requirement that a domestic vote-by-mail

ballot be received no later than 7 p.m. on Election Day in order to be counted (Fla.

Stat. § 101.67); and (3) the prohibition on any person accepting “a pecuniary or other

benefit in exchange for distributing, ordering, requesting, collecting, delivering, or

otherwise more than two vote-by-mail ballots per election in addition to his or her

own ballot or a ballot belonging to an immediate family member” (Fla. Stat. §

104.0616).1




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    The operative complaint for the Nielsen Plaintiffs can be found at D.E. 292-1.
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    Because this Court has already dismissed the claims relating to pre-paid postage

for vote-by-mail ballots, the Miami-Dade Defendants will only address the two

remaining aspects of Florida election law that the Nielsen Plaintiffs challenge.

    A. The Nielsen Plaintiffs have Conceded that the “Voter Assistance Ban”
       Claims Do Not Apply to the Miami-Dade Defendants

    In their Second Amended Complaint, the Nielsen Plaintiffs assert that Counts I

IV, and V, which deal with the Voter Assistance Ban in whole or in part, are

applicable to all defendants. See D.E. 291-1 at pp. 51, 63, 67. In response to that claim,

County defendants have argued through multiple filings that they are not proper

parties to any claims relating to the Voter Assistance Ban because “neither

supervisors of election nor canvassing boards play any role in enforcing Fla. Stat. §

104.0616(2).” D.E. 105 at 13-17. Accord D.E. 237 at 5-6.2

    Since then, the Nielsen Plaintiffs have conceded that they agree with the County

Defendants’ position. See D.E. 285 at 19, n.19 (“The Nielsen Plaintiffs do not

contend the County Defendants are proper Defendants for Plaintiffs’ claims related

to the Voter Assistance Ban. The Defendants to whom that claim is addressed are

the Secretary and the Attorney General. See ECF No. 245 at 27-33.”).


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    In a supplemental declaration accompanying this trial brief, Supervisor White
    also attests that the Miami-Dade Defendants “do not enforce the provisions of
    Fla. Stat. § 104.0616” and “count all valid, timely received vote-by-mail ballots
    regardless of the method of delivery.” See Supplemental Declaration at ¶¶ 19-20.
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   Given this concession, the Miami-Dade Defendants ask that this Court dismiss

or enter judgment in their favor on Counts I, IV, and V as they relate to the Voter

Assistance Ban.

   B. The “Election Day Receipt Deadline” Does Not Unduly Burden the
      Right to Vote and Does Not Violate Procedural Due Process

   With respect to Counts I and II, which deal with the Election Day Receipt

Deadline in whole or in part, the Miami-Dade Defendants rely upon the arguments

and evidence provided in prior filings by defendants in this matter. See, e.g., D.E.

237, 290.

   II. The Miami-Dade Defendants are Entitled to Judgment in their Favor on
       All Claims Raised by the Williams Plaintiffs

   In this consolidated action, the plaintiffs in Williams, et al. v. DeSantis, et al. (Case

No. 1:20-cv-00067) have filed a six-count complaint that has now been

supplemented by a Notice of More Definite Statement containing 34 alleged acts

that they ascribe to certain groups of defendants with varying levels of specificity,

D.E. 68. The Third Amended Complaint brings the following six counts: (1) a claim

that various aspects of the State of Florida’s vote-by-mail laws place an undue

burden on the right to vote under the Anderson-Burdick framework; (2) a claim that

various aspects of Florida’s vote-by-mail laws and the implementation of its online

voter registration system violate Section 2 of the Voting Rights Act of 1965; (3) a


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claim that various aspects of Florida’s election laws violate Title II of the American

with Disabilities Act; (4) a related claim that those same aspects of Florida’s election

laws violate Section 504 of the Rehabilitation Act; (5) a claim that the failure to

provide Spanish-language ballots and other election-related material in some parts

of the state violates Section 203 of the Voting Rights Act of 1965; and (6) a claim that

various aspects of Florida’s vote-by-mail laws violate the Due Process Clause of the

14th Amendment. See D.E. 341-1.

   After being ordered to provide a more definite statement, the Williams Plaintiffs

listed 34 separate actions and, for each action, they included—with varying degrees

of specificity—the defendants that correspond to that action. D.E. 68. The Williams

Plaintiffs did not, however, identify which of their six claims applied to each of the

34 separate actions.

   In addition, the Williams Plaintiffs’ discovery responses have suggested

additional uncertainty over what they are claiming and against whom. For example,

in response to interrogatories from other supervisors of elections concerning Fla.

Stat. § 104.0616, the Williams Plaintiffs responded that they “ha[ve] not asserted

any cause of action against the [ ] Supervisors Defendants challenging the prohibition

set forth in section 104.0616 Florida Statutes.” The Williams Plaintiffs made this

representation despite asserting in their More Definite Statement that Item 16

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applied to “all supervisors of elections” even though that item exclusively deals with

Fla. Stat. § 104.0616. See D.E. 68 at 5.

   In a similar vein, the Williams Plaintiffs have indicated that other items apply to

“all supervisors of elections” without any supporting allegations in their pleadings

or, in many instances, a good faith basis to make such a claim. In so doing, they have

treated the 67 Supervisors of Elections as a monolithic group with no allegations as

to what any specific county has done and left it for each supervisor of elections to

determine whether they have sufficiently acted in a manner that meets the Williams

Plaintiffs’ litmus test. For example, the Williams Plaintiffs assert a claim in Item 13

against all supervisors of election for “failing to deliver Spanish-language mail ballots

or requiring voters to make a second request to receive a Spanish-language ballot”

even though multiple counties, including Miami-Dade County, provide all ballots in

Spanish. See D.E. 68 at 4. In many instances, the inapplicability of certain claims to

certain counties should have been apparent to the Williams Plaintiffs following the

reasonable inquiry required under Fed. R. Civ. P. 11(b). But, rather than assume the

responsibility of clarifying their claims through one of their three amended

complaints, they have left it for the defendants and the Court to do it for them.

   “Under the Civil Rules, notice of a claim is a defendant's entitlement, not a

defendant's burden.” Rodriguez v. Doral Mortg. Corp., 57 F.3d 1168, 1172 (1st Cir.

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1995). In this case, the Williams Plaintiffs slipshod filings have created a burden for

the Miami-Dade Defendants to discern what claims apply to them and what evidence

needs to be offered in defense of those claims. This Trial Brief and Motion for

Summary Judgment represents the Miami-Dade Defendants’ best effort to divine

the Williams Plaintiffs’ intent.

   A. Count V and Items 8, 9, 10, and 13 (Spanish Language Claims)

   Under Count V, the Williams Plaintiffs have alleged that defendants have

“fail[ed] to provide VBM ballots, related instructions and documents to request,

mark, return, and cure VBM ballots and other electoral materials in Spanish-

language as provided to English-language voters.” D.E. 341-1 at ¶ 144. Similarly,

Items 8, 9, 10, and 13 from the More Definite Statement relate to Spanish language

issues. See D.E. 68 at 3-4. In Miami-Dade County, all ballots and election-related

materials are provided in three languages—English, Spanish, and Haitian Creole. See

Deposition of Christina White at 147:20-148:20. See also Ex. A-C in Supplemental

Declaration.

   In light of this unrebutted testimony from Supervisor White, the various multi-

lingual election-materials attached to this filing, and the lack of any allegation by the

Williams Plaintiffs relating to Miami-Dade County, there is no material dispute that

Miami-Dade County meets its obligations under Section 203 of the Voting Rights

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Act. See United States v. Sandoval Cty., N.M., 797 F. Supp. 2d 1249, 1253–54

(D.N.M. 2011) (explaining that the reasonable effectiveness standard under Section

203 “does not demand perfection, but only” something akin to “substantial

compliance”).3 Accordingly, this Court should enter summary judgment in favor of

the Miami-Dade Defendants on these corresponding claims.

    B. Other Acts Relating to Mail Ballot Requests (Items 1, 2, 6, and 11)

    For Items 1, 2, and 6, this Court has already determined that the Williams

Plaintiffs are not likely to succeed on the merits with these claims. See D.E. 332 at 3.

The Miami-Dade Defendants, therefore, will not belabor over these issues. Instead,

for Items 1 and 2, the Miami-Dade Defendants simply incorporate by reference the

argument on these issues that they offered in their Motion to Dismiss, see D.E. 256

at 6-8, and note the election administration concerns raised in Supervisor White’s

original declaration, see D.E. 290-3. For Item 6, the Miami-Dade Defendants note




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    In their forthcoming answer, the Miami-Dade Defendants will also assert as an
    affirmative defense that the plain language of Section 203 of the Voting Rights Act
    does not contain a private right of action because the enforcement provision,
    codified at 52 U.S.C. § 10504, only authorizes the Attorney General to take action
    to enforce compliance. The Miami-Dade Defendants recognize that the 11th
    Circuit, in Schwier v. Cox, 340 F.3d 1284, found an implied right of action for a
    different provision of the Voting Rights Act. However, the 6th Circuit has held
    the opposite. See McKay v. Thompson, 226 F.3d 752, 756 (6th Cir. 2000). And the
    Supreme Court has yet to reconcile this circuit split. As a result, the Miami-Dade
    Defendants seek to preserve this defense and argument.
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this issue is moot as to Miami-Dade County because the Miami-Dade Elections

Department has already sent “every household with at least one voter who does not

have a vote-by-mail ballot request on file a vote-by-mail ballot form for each

registered voter in the household without a vote-by-mail ballot request on file along

with instructions on how to request a vote-by-mail ballot and the importance and

process for updating the voter’s signature on file with elections to encourage the

expanded use of vote-by-mail.” Miami-Dade County, Resolution No. R-453-20. See

also Deposition of Christina White 27:2-9, 89:22-90:3, 93:12-15 (describing how vote-

by-mail request forms were sent to over 700,000 households and that prepaid

postage was provided as well).

    For Item 11, voters in Miami-Dade County are already given notice of a potential

address issues when making vote-by-mail requests in at least three different ways.

First, Miami-Dade’s Vote-By-Mail Ballot Request Form explicitly asks the voter to

provide their “Current Miami-Dade County Residence Address,” and it also gives

the voter the option to mark “if this is a change of your residential address.” See

Supplemental Declaration of Christina White at ¶ 12.4 Second, if a voter requests a


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    The form also states: “The U.S. Post Office will not forward vote-by-mail ballots
    to a different address. Pursuant to State Law, if any first class mail addressed to
    you is returned as undeliverable to our office, the request for ballots will be
    cancelled until a new address is provided. It is up to you to keep us informed
    when you leave during the election season.” Id.
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vote-by-mail ballot online and “provides a residence address that does not match the

information on file, the online portal notifies the voter that the system could not find

the voter’s record using the information provided.” Id. at ¶ 13. Third, if a voter

requests a vote-by-mail ballot online and “provides the residential address on file but

then requests to send their ballot to a different address, the system notifies the voter

that the specified delivery address is not currently on file in the Florida Voter

Registration System for that voter.” Id.

   Accordingly, this Court should enter summary judgment in favor of the Miami-

Dade Defendants on these corresponding claims.

   C. Other Claims Relating to Mail Ballot Delivery (Items 12 and 14)

   For Item 12, the Williams Plaintiffs allege that all supervisors of elections fail “to

notify voters by forwardable mail when their mail ballots have been returned as

undeliverable.” D.E. 68 at 4. However, the Miami-Dade Elections Department

sends notices to those voters. However, the timing of those notices occurs in

accordance with Fla. Stat. § 98.065(5) to “protect[] voters from having their voter

information or status altered too close to a federal election by voter registration list

maintenance activities.” See Supplemental Declaration at ¶¶ 17-19.

   For Item 14, the State of Florida has not yet certified “a feasible, reliable, secure

method by which blind individuals can cast a remote secret ballot.” D.E. 369 at 2.

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See also Deposition of Christina White at 150:9-13. However, Miami-Dade County

does wish to emphasize that it is the preference of Miami-Dade County when dealing

with changes “to all voting equipment, all software, all hardware” to “launch it in a

smaller election where [the Department] can try it out, refine [their] procedures,

understand what [it’s] dealing with, see if there are any concerns that need to be

addressed within the software … so that when [the Department does] have to launch

it on a larger scale in a big election, [it is] ready for it.” Id. at 150:15-151:1.

   D. Claims Relating to Mail Ballot Return (Items 15, 16, and 19)

   For Item 15, this Court has already determined that the Williams Plaintiffs are not

likely to succeed on the merits of this claim. See D.E. 332 at 3. The Miami-Dade

Defendants merely wish to emphasize the election administration concerns raised by

Supervisor White in her original declaration, D.E. 290-3. Supervisor White also

provided additional testimony in support of this point at her deposition. See

Deposition of Christina White at 56:9-57:1; 57:21-58:14; 60:8-11; 60:18-61:3; 83:22-

84:7; 113:16-114:19; 117:2-6.

   For Item 16, the Williams Plaintiffs have already suggested through discovery that

they “ha[ve] not asserted any cause of action against the [ ] Supervisors Defendants

challenging the prohibition set forth in section 104.0616 Florida Statutes.” Because

Item 16 deals exclusively with Fla. Stat. § 104.0616, the Miami-Dade Defendants

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request that this Court dismiss this claim. See also Supplemental Declaration at ¶¶

19-20.

   For Item 19, the Williams Plaintiffs allege that all supervisors of elections fail “to

provide drop-boxes for vote-by-mail ballots at polling place locations during the early

voting period and on election day.” D.E. 68 at 5. However, Miami-Dade County has

already agreed to provide drop-boxes for vote-by-mail ballots during the 2020

Primary and General Elections. See D.E. 290-3 at ¶ 30. Those drop-boxes will be

outdoor drive-through locations placed at (1) all early voting sites during the same

days and hours of operation as the early voting sites and (2) four sites geographically

dispersed across Miami-Dade County on Election Day during the same hours that

polls are open. Id. See also Deposition of Christina White at 100:9-103:1. This issue

is, therefore, moot as to Miami-Dade County.

   E. Claims Relating to Counting or Curing Mail Ballots (Items 20-24)

   For Item 20, the Williams Plaintiffs take issue with the fact that state law provides

a deadline of 5 p.m. on the second day after the election for any voter to submit a

cure affidavit in order to cure a signature deficiency with their vote-by-mail ballot.

D.E. 68 at 5. To avoid redundancy, Miami-Dade County relies upon the argument

in its previously filed Motion to Dismiss as to the state interests in providing such a

deadline. D.E. 256 at 12-13. In addition, the original declaration from Supervisor

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White and her deposition testimony provide additional support. See D.E. 290-3 at ¶

13 (recognizing that the state law “provides narrow time frames for Supervisors of

Election to complete essential election responsibilities” including the return of first

unofficial results by noon on the fourth day after the General Election or noon on the

third day after the Primary Election); Deposition of Christina White at 57:21-58:14;

60:8-11; 83:22-84:7.

   For Item 21, the Williams Plaintiffs allege that supervisors of elections and

canvassing boards “reject[] mail ballots without notifying the affected voters of

ballot deficiencies.” D.E. 68 at 6. As a general matter, however, Florida law requires

all voters with signature deficiencies to be notified via e-mail, text message, or phone,

in addition to a mailed notice. See Fla. Stat. § 101.048(6)(a). More specifically,

Miami-Dade County provides that notice to all voters. As described by Supervisor

White, the Miami-Dade Elections Department send notices to voters as soon as their

vote-by-mail ballot has been identified as even having a potential issue during a

preliminary review by department staff. See Deposition of Christina White at 128:11-

15. The Miami-Dade Elections Department “[does not] wait until the point at which

it goes to the canvassing board, because [the Department’s] goal it so give the voter

the maximum amount of time possible to correct any type of deficiency. Id. at 128:16-

18. In most instances, that notice is sent out the same day that the ballot was received

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by the Elections Department. Id. at 128:19-129:6. And the Miami-Dade Elections

Department attempts to contact voters by every possible method of communication

(text message, email, phone call, and mail) in all three languages (English, Spanish,

and Creole) for each voter. Id. at 128:19-129:19. Lastly, these outreach efforts to

contact voters occurs even for ballots received on Election Night, with the Election

Department even attempting to contact voters “on election night so that they have

the full two days up until the deadline to … comply with the affidavit.” Id. at 130:3-

6.

     For Item 22, the Williams Plaintiffs allege that supervisors of elections and

canvassing boards “reject[] cure affidavits that are not accompanied by identification

when identification is not necessary to verify the voter’s identity.” D.E. 68 at 6.

However, the procedures for accepting cure affidavits are provided in Fla. Stat. §

101.68(2)(c)(1) and voters are also given express notice on the cure affidavit of the

relevant identification requirements, see Fla. Stat. § 101.68(4)(c). See also

Supplemental Declaration at ¶ 23.

     For Item 23, the Williams Plaintiffs allege that supervisors of elections and

canvassing boards “reject[] cure affidavits based on signature mismatch when

affidavit is accompanied by valid identification establishing the voter’s identity.”

D.E. 68 at 6. However, Florida law already allows cure affidavits to be accepted even

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when there is a signature mismatch if the voter provides valid identification. See Fla.

Stat. § 101.68(2)(c)(1). And, more specifically, Miami-Dade County “do[es] not

reject a vote-by-mail ballot cure affidavit that contains a mismatched signature if the

voter has submitted one of the valid forms of identification provided under state

law.” Supplemental Declaration at ¶ 22.

   For Item 24, the Williams Plaintiffs allege that supervisors of elections “fail[] to

inform voters of relevant identification requirements to remedy a signature

mismatch where verification of identity is needed.” D.E. 68 at 6. However, “the

notices that the Miami-Dade County Elections Department provides to voters who

have potential signature deficiencies with their vote-by-mail ballot includes

information of the relevant identification requirements to cure any signature

deficiencies.” See Supplemental Declaration at ¶ 23.

   In light of the evidence provided, this Court should enter summary judgment in

favor of the Miami-Dade Defendants on these corresponding claims.

   F. Claims Relating to In-Person Voting (Items 26-29)

   For Item 26, the Williams Plaintiffs have alleged that supervisors of elections have

“[c]los[ed] and consolidate[ed] polling places without providing equally accessible

alternative polling locations.” D.E. 68 at 6. However, in Miami-Dade County, there

were only 8 polling places (out of a total of more than 600) that were required to

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close or consolidate during the March 2020 Presidential Preference Primary because

they were either located at assisted living facilities or nursing homes or they were

shut down to the public by the Department of Health. See Deposition of Christina

White at 24:11-19. For each of those polling place closures, the Elections Department

sent those voters to “the next closest voting location to the one that we already were

sending them to,” and these new locations were mere “blocks away from each other

in most cases.” Id. at 71:9-10. The Miami-Dade Elections Department will also

employ this same strategy during the upcoming elections of sending voters to the

next closest precinct. Id. at 71:11-14. Thus, even when a relatively few number of

locations in Miami-Dade County need to be consolidated for public health reasons,

it will not result “in any kind of drastic changes that [will be] causing people to have

to go very far.” Id. at 71:14-17.

   For Item 27, the Williams Plaintiffs have alleged that supervisors of elections have

“[f]ail[ed] to expand early voting days, hours, and locations.” D.E. 68 at 7. However,

Miami-Dade County already plans to offer Early Voting for the maximum number of

days during the 2020 Primary Election and the maximum number of days and hours

during the 2020 General Election. Deposition of Christina White at 102:12-15. In

Miami-Dade County, Early Voting will take place at 23 locations during the 2020

Primary Election and 33 locations during the 2020 General Election. Id. at 105:6-

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106:21. In addition, the differences between the amount of locations for the 2020

Primary and General Election is due to differences in voter demand because primary

elections have historically lower turnout than general elections. Id. at 107:1-2. Lastly,

these locations are geographically dispersed so that “you have barely any voters [in

Miami-Dade County] that are traveling more than two to three miles to get to one of

our early voting sites.” Id. at 109:4-7.

   For Item 28, the Williams Plaintiffs have alleged that supervisors of elections have

“[f]ail[ed] to provide curbside voting at polling places and during early voting.” D.E.

68 at 7. However, as explained in response to Item 19, Miami-Dade County is

providing outdoor, drive-thru locations for voters to return their vote-by-mail

ballots. See also D.E. 290-3 at ¶ 30.

   For Item 29, the Williams Plaintiffs have alleged that supervisors of elections have

“[f]ail[ed] to expand [the] availability of supervised voting” and “cancell[ed]

supervised voting in facilities with large numbers of at-risk voters without providing

safe and accessible alternatives.” D.E. 68 at 7. However, under state law, supervised

voting may only be provided at assisted living facilities or nursing homes. See Fla.

Stat. § 101.655. And, pursuant to an emergency order issued by the State of Florida’s

Division of Emergency Management, entry by individuals not providing essential

care to residents at all assisted living facilities or nursing homes during the current

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state of emergency is generally prohibited. See Supplemental Declaration at ¶ 24.

Therefore, supervised voting cannot be expanded at this point in time. In addition,

“the Miami-Dade Elections Department has been in communication with all

facilities in Miami-Dade County that had previously participated or expressed

interest in supervised voting.” Id. at ¶ 26. And “depending on the facility’s

preference, the Miami-Dade Elections Department either provided vote-by-mail

request forms directly to the facility for all residents or gave the facility instruction

on how to obtain and print forms on its own so that those residents could continue

to participate in the upcoming elections through vote-by-mail.” Id.

   In light of the evidence provided, this Court should enter summary judgment in

favor of the Miami-Dade Defendants on these corresponding claims.

   G. Count II (Section 2 of the Voting Rights Act)

   In their complaint, the Williams Plaintiffs have asserted a claim against all

defendants under Section 2 of the Voting Rights Act based upon alleged disparities

in the vote-by-mail process. See D.E. 341-1 at pp. 62-64. Notably, none of the 34

actions that were listed in the More Definite Statement concern or even reference

racial disparities. See generally D.E. 68. Thus, the Miami-Dade Defendants will

endeavor to respond to this claim generally because the Williams Plaintiffs have

failed to indicate what specific actions correspond to this claim.

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   Based upon the exhibits filed in support of their Motion for Preliminary

Injunction, it appears that the Williams Plaintiffs are attempting to rest the vote-by-

mail elements of Count II exclusively upon the expert testimony of Dr. Daniel Smith.

See D.E. 87-1 at 36-37. However, at deposition, Dr. Smith admitted that for Miami-

Dade County any racial disparity in the rejection of vote-by-mail ballots was almost

entirely attributable to disparities in unsigned ballots and that the rate of signature

rejections was virtually identical (and effectively zero) across all races. See

Deposition of Dr. Daniel Smith at 64:1-65:3 (agreeing that rate of “voter caused

error”—or signature mismatches—in Miami-Dade County was effectively at 0

percent for White, Black, and Hispanic voters); 65:4-9 (Q: So at least for Miami-

Dade County, any disparity in the rejection rates is almost entirely attributable to

unsigned ballots and not to voter-caused error? A: Yes, for the ballots that are

received on time, I would agree largely with that statement.”) (emphasis added).

Because the failure of a voter to sign a ballot is not an action that is attributable to the

Supervisor of Elections or the Canvassing Board, it cannot serve as the basis for a

claim of disparate treatment under the Voting Rights Acts.

   In light of the evidence provided, this Court should enter summary judgment in

favor of the Miami-Dade Defendants on these corresponding claims.




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                                 CONCLUSION

   For the reasons stated in this Trial Brief and in the relevant filings of any other

defendants, the Miami-Dade Defendants request that this Court enter summary

judgment in their favor on the relevant claims asserted by any of the plaintiffs in this

consolidated action.

 Date: July 3, 2020                             Respectfully submitted,
                                                ABIGAIL PRICE-WILLIAMS
                                                MIAMI-DADE COUNTY ATTORNEY

                                                By: /s/ Michael B. Valdes
                                                Michael B. Valdes and Oren Rosenthal
                                                Assistant County Attorney
                                                Florida Bar No. 93129

                                                Miami-Dade County Attorney’s Office
                                                111 N.W. 1st Street, Suite 2810
                                                Miami, Florida 33128
                                                Phone: (305) 375-5151
                                                Fax:    (305) 375-5634
                                                E-mail: mbv@miamidade.gov

                                                Counsel for Christina White and the
                                                Miami-Dade County Canvassing Board




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                        CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing was served to all counsel
of record through the Court’s CM/ECF system on July 3, 2020.


                                                /s/ Michael B. Valdes
                                                Michael B. Valdes
                                                Assistant County Attorney




                     CERTIFICATE OF COMPLIANCE

The undersigned certifies that the foregoing complies with the size, font, and
formatting requirements of Local Rule 5.1(C) and the word limit requirements of
Local Rule 7.1(F).


                                                /s/ Michael B. Valdes
                                                Michael B. Valdes
                                                Assistant County Attorney




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                           MIAMI-DADE COUNTY ATTORNEY’S OFFICE
                                       (305) 375-5151
